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Dilks| & | Knopik

NOTICE OF ASSIGNMENT

For good and valuable consideration, the undersigned, Chriscilda Stephens ("Assignor"), hereby,
sells, assigns, conveys and transfers over and unto Dilks & Knopik, LLC ("Assignee"), any and all of right,
title and interest in and to the below referenced funds/claim(s).

The Assigned funds/claim(s):

Debtor: Bellaire General Hospital L.P.

Court: United States Bankruptcy Court - Southern District of Texas
Case Number: 05-30089-H3

Chapter: 7

Claim: 350

Original Creditor: Chriscilda Stephens

The purchase price for the Purchased Claim(s) is a

FUNDS/CLAIM(S) ARE BEING SOLD AND ASSIGNED "AS-IS, WHERE-IS" WITH NO
WARRANTIES OR REPRESENTATIONS WHATSOEVER, EXCEPT AS EXPRESSLY PROVIDED IN
THE ASSIGNMENT AGREEMENT, INCLUDING, WITHOUT LIMITATION, WARRANTIES OF
MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE.

IN WITNESS WHEREOF, the parties hereto have caused this notice of assignment to be executed as
of the Thursday, March 05, 2020.

[i] |

Stephens

Signature

SYDNEY RENEE KELLEY é
NOTARY PUBLIC-STATE OF TEXAS §
ID # 578180-7

COMM. EXP. 08-30-2022

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The State of Tas
County o f arris

To any regularly bcensed or ordained Christian ministar or priest; GJowish rabbi; person who is an offhcar of a re tgious
organization and who i authorized by the organization to conduct a marriage caramony; justice of the suprame court, judge
of the court of criminal appeal, justice of tha courls of appoaks, judge of the district, county, and probate courts, judga of the
county courts at law, judge of the courts of domestic relations, judge of the juvenile courts, ralired justice or judge off those
courls, justice of the peace, rotirad justice of the peace, or judge or magistrate off a fadora court of Ukis stale,

Greeting:
You are heraby authorised to conduct the Rites of Matrimony betunon

Marcellious Stephens and Chriscilda §. Valdivieso

wend. make duo rolurn to the County Chirk of  Alevveids Counkp, ein’ i within thirky (3 o/ days of performing the marriage,
cortifying your action unilen this Beonse. Wien my official signature ane: seal. of, office én whbiiwnas County, Thixas al
08:21 A. MM, “Diaamnbae 2, 2005.

Beverly és KG aupman

Cosby CLL ddan County, esas

OPN A Rhode. ZT Nance
a Nie bger Rhonda SeCjaree Deputy

Y.. & Wes. Wicwcubtivecs Stephens
5515 Strack, #115
- LP areshon, Shevaes 77060

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This license is not valid for seventy-two (72) hours from the time of issuance.

Accompanied by TDH Material a5 required by Section 2.009 (c) (4) Family Code.

Form No. D-03-50 (Rev. 11/1 1/98)

- Ifa marriage ceremony has not been conducted before the 31st day after the date the license is issued,
